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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------x
 STACY BLAIN, PH.D.,

                       Plaintiff,

        -against-
                                                     MEMORANDUM AND ORDER
 STATE UNIVERSITY OF NEW                             Case No. 22-CV-3022-FB-MMH
 YORK, WAYNE RILEY, HEIDI
 ARONIN, DAVID CHRISTINI,
 VITALY CITOVSKY, RICHARD
 GRONOSTAJSKI, PATRICIA KANE,
 FRANK MIDDLETON, SHOSHANA
 MILSTEIN, LAURIE READ, DAVID
 SCHOENHAUT, MARK STEWART,
 AND WILLIAM VERSFELT,

                        Defendants.
 ------------------------------------------------x

 Appearances:
 For the Plaintiff:                                  For Defendant David Schoenhaut:
 JIM WALDEN                                          NICHOLAS J. EVANOVICH
 Walden Macht & Haran LLP                            LaMarche Safranko Law, PLLC
 250 Vesey Street, 27th Floor                        987 New Loudon Road
 New York, New York 10281                            Cohoes, New York 12047

                                                     For Defendant Mark Stewart:
                                                     SAMUEL SHAPIRO
                                                     Emery Celli Brinckerhoff & Abady
                                                     LLP
                                                     600 Fifth Avenue, 10th Floor
                                                     New York, New York 10020
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                                               For the Remaining Defendants:
                                               CLEMENT J. COLUCCI
                                               Assistant Attorney General
                                               State of New York
                                               28 Liberty Street
                                               New York, New York 10005

 BLOCK, Senior District Judge:

       Following a premotion conference on November 16, 2023, the Court

 directed the parties to submit 5-page letters addressing the three proposed motions

 to dismiss the amended complaint for failure to state a claim. As explained at a

 second conference on December 7, 2023, the Court deems those letters sufficient

 to brief the parties’ respective positions on those motions and accepts them in lieu

 of formal briefing. Having considered the letters, the Court rules as follows:

       1.     The motion of Defendants State University of New York (“SUNY”),

 Wayne Riley, Heidi Aronin, David Christini, Vitaly Citovsky, Richard

 Gronostajski, Patricia Kane, Frank Middleton, Shoshana Milstein, Laurie Read,

 and William Versfelt (collectively, the “SUNY Defendants”) is denied. With

 respect to discrimination, SUNY’s legal obligations obviously constitute a

 legitimate non-discriminatory reason for conducting the research misconduct

 investigation. However, there are sufficient allegations—in particular that a male

 graduate student was exonerated of manipulating the same data—to raise an

 inference that the conduct and outcome of the investigation were driven by Dr.


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 Blain’s sex. With respect to retaliation, the key issue is whether the investigation

 committee knew about Dr. Blain’s discrimination complaint. There may or may

 not be enough evidence to support her allegation, but Dr. Blain has at least alleged

 that it did.

        2.      The motions of Defendant David Schoenhaut and Mark Stewart are

 granted. At the December 7th conference, the Court stated that Dr. Blain had

 sufficiently alleged that Dr. Schoenhaut’s conduct regarding contract negotiations

 was coordinated with Dr. Stewart’s handling of “the investigation” in such a way

 that both were being used as ways to treat Dr. Blain less favorably based on her

 sex. In honoring Dr. Stewart’s counsel’s request to elaborate the reasoning

 regarding his client’s involvement, the Court reexamined the allegations regarding

 both Drs. Schoenhaut and Stewart. Those allegations relate to Dr. Stewart’s 2016

 investigation into allegations of research misconduct by the male graduate student,

 not the 2019 investigation that forms the crux of Dr. Blain’s complaint. The

 concrete factual allegations in the amended complaint do not support the

 conclusory allegation that that Dr. Stewart’s 2016 investigation was tainted by

 discriminatory bias against Dr. Blain. As a result, there are insufficient factual

 allegations that Dr. Schoenhaut’s contract negotiations had a discriminatory motive

 even if they were coordinated with Dr. Stewart’s investigation. Finally, there are

 insufficient factual allegations that Dr. Stewart and Dr. Schoenhaut were involved

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 in the 2019 investigation in such a way that either could be plausibly said to have

 aided and abetted any discrimination present in that investigation.

       SO ORDERED.



                                               _/S/ Frederic Block___________
                                               FREDERIC BLOCK
                                               Senior United States District Judge
 Brooklyn, New York
 December 8, 2023.




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